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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

Mother Doe, individually and as the Mother      )
and Natural Guardian for Jane Doe, a Minor,     )
                                                )   CIVIL ACTION NO. 3:18-cv-02731-CMC
                                     Plaintiff, )
                                                )
vs.                                             )     STIPULATION OF DISMISSAL
                                                )    AS TO DEFENDANTS SHERIFF OF
Sheriff of Richland County in his official      )       RICHLAND COUNTY IN HIS
capacity d/b/a Richland County Sheriff’s        )         OFFICIAL CAPACITY,
Department (“RCSD”), and Jamel Bradley,         )         AND JAMEL BRADLEY
                                                )
                                  Defendants. )
                                                )
                                                )
                                                )

       Plaintiff Mother Doe, individually and as Mother and Natural Guardian for Jane Doe, a

Minor, and Defendants Sheriff of Richland County in his official capacity d/b/a Richland County

Sheriff’s Department (“RCSD”) and Jamel Bradley, by and through their respective undersigned

attorneys, hereby stipulate pursuant to Rule 41(a)(1), FRCP, that the above-entitled action, and

all claims asserted therein, against Defendants RCSD and Jamel Bradley, be dismissed with

prejudice.



WE SO STIPULATE:


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November 5, 2020




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